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                            United States District Court               FILED
                                                                   U.S. DISTRICT COURT
                                                                                       -~
                            Eastern District of Arkansas       EASTERN DISTRICT ARKANSAS




   Anitra N. Rogers Plaintiff v. Case No.                    JAMES     . ~:~~H'M
                             ,ft,·.21ev~~s-... L/1A'-        ey:___.1~~~~~~
      Lighthouse Academies of Arkansas, Inc. Defendant

                            Complaint       This case assigned to District Ju
                                            and to Magistrate Judge_-4-~~~~~--I
                                      Parties

    1. The Plaintiff, Anitra N. Rogers ("Ms. Rogers"), is a natural

       person who resided primarily in North Little Rock, Arkansas

       during the times relevant to this cause of action. Ms.

       Rogers is a black female. At the times relevant to this cause

       of action, Ms. Rogers was an employee within the meaning

       of 29 U.S.C. § 203(e)(1) and 42 U.S.C. § 2000e (f).

    2. The Defendant, Lighthouse Academies of Arkansas, Inc.

       ("Lighthouse"), is a non-profit corporation incorporated in

       the State of Arkansas. Lighthouse's principal place of

       business is 29140 Chapel Park Drive, Wesley Chapel,

       Florida 33543-4404. Lighthouse's registered agent is

       Business Filings Incorporated, 124 West Capitol Avenue,

       Suite 1900, Little Rock, Arkansas 72201-3717. At the times

       relevant to this cause of action, Lighthouse was an

       employer within the meaning of 29 U.S.C. § 203(d) and 42

       U.S.C. § 2000e(b).
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                             Subject Matter Jurisdiction

    3. This Court has subject matter jurisdiction over this cause of

       action pursuant to 28 U.S. C. § 1331 because it is a civil

       action arising under the laws of the

           United States, specifically 29 U.S.C. § 206(d)(1 ), 42

           U.S.C. §§ 2000e 2(a)(1) and 2000e-5(f)(1).

                                Personal Jurisdiction

    4. This Court has general personal jurisdiction over Lighthouse

       because it is incorporated in the State of Arkansas, and a

       forum state can exercise general personal jurisdiction over

       a defendant who has a continuous presence in the state

       and whose activities in the state are so substantial and of

       such a nature as to justify haling it into court in the state

       even for causes of action that do not arise from those

       activities.   Goodyear Dunlop      Tires   Operations,   S.A.

       v. Brown, 564 U.S. 915, 924 (2011) (citing He/icopteros

       Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414

       n.9 (1984); International Shoe Co. v. Washington, 326 U.S.

       310, 318 (1945)).

                                       Venue

       5. Venue is proper in this Court pursuant to 28 U.S.C. §

        1391 (b)(2) because a substantial part of the events or
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        omissions giving rise to Ms. Rogers's claims against

      Lighthouse occurred in the Eastern District of Arkansas.


                  I. Factual Basis for the Complaint

    6. Lighthouse operates a charter school in Jacksonville,

       Arkansas     called   Jacksonville     College    Preparatory

       Academy. In July 2017, Ms. Rogers began working for that

       school as the Director of School Culture. In July 2018,

       Lighthouse promoted her to the position of principal at the

       school. She replaced a male, Frederick D. Holmes ("Mr.

       Holmes"}, in that position,



                                        2
          and at the time Lighthouse promoted her, it paid her

          less than it paid Mr. Holmes.

    7. When Lighthouse promoted Ms. Rogers to the position of

       principaf, she performed the same job as Mr. Holmes, and

       the job required the same skills, efforts, and responsibilities

       as it required of Mr. Holmes. She also performed the job

       under the same working conditions as Mr. Holmes.

    8. Lighthouse has a Personnel Policies Handbook that includes

       a policy it calls "Progressive Discipline." In accordance with

       that policy, Lighthouse's "progressive discipline process"

       is as follows:
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          First, there is a verbal warning: where a supervisor

          verbally counsels an employee about an issue of

          concern, and a written record of the discussion is

          placed in the employee's file for future reference.

          Second, there is a written warning, which is used for

          behavior or violations that a supervisor considered

          serious or in situations when a verbal warning has not

          helped    change    unacceptable      behavior.   Written

          warn, ngs are placed in an employee's personnel file.

          Third, there is a performance improvement plan. When

          an employee has been involved in a disciplinary

          situation that has not been readily resolved or when the

          employee has demonstrated an inability to perform

          assigned work responsibilities efficiently, the employee

          may be given a final warning or placed on a

          performance      improvement       plan.    Performance

          improvement plan status will last for a predetermined

          amount of time not to exceed ninety



                                         3
          days, and within this time period, the employee must

          demonstrate a willingness and ability to meet and

          maintain the conduct requirements specified by the

          supervisor and organization, the work requirements
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       respect to her compensation, terms, conditions, or

       privileges of employment because of sex. 42 U.S.C. §

       2000e-2(a)(1 ).

    15. When Lighthouse terminated Mr. Felton, it allowed him to

       complete the school year. When Lighthouse terminated Ms.

       Rogers, it did not allow her to complete the school year.

       Lighthouse refused to allow Ms. Rogers to complete the

       school year was because of sex. This was an adverse

       employment act that violated her statutory right not to be

       discriminated against with respect to her compensation,

       terms, conditions, or privileges of employment because of

       sex. 42 U.S.C. § 2000e-2(a)(1).



                                    5
    16. When Lighthouse removed Mr. Holmes as principal and

       replaced him with Ms. Rogers, it offered Mr. Holmes the

       option of accepting a severance package or completing the

       school year. When Lighthouse terminated Ms. Rogers, it

       did not offer her the option of completing the school

       year. Lighthouse refused to allow Ms. Rogers to complete

       the school year because of sex. This was an adverse

       employment act that violated her statutory right not to be

       discriminated against with respect to her compensation,
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      terms, conditions, or privileges of employment because of

       sex. 42 U.S.C. § 2000e 2(a)(1).

    17. When Lighthouse terminated Ms. Rogers on February 18,

       2020, it refused to pay her wages she had earned up until

      that point. Lighthouse refused to pay Ms. Rogers the wages

       she had earned up until February 18, 2020 because of sex.

       This was an adverse employment act that violated her

       statutory right not to be discriminated against with respect

      to her compensation, terms, conditions, or privileges of

       employment because of sex. 42 U.S.C. § 2000e-2(a)(1).

         Ill. Sex Discrimination under the Equal Pay Act of

        1963 18. When Lighthouse promoted Ms. Rogers to the

        position of principal, she performed the same job as Mr.

       Holmes, and the job required the same skills, efforts, and

            responsibilities as it required of Mr. Holmes, yet

          Lighthouse paid her less than Mr. Holmes. She also

        performed the job under same working conditions as Mr.

             Holmes, yet Lighthouse paid her less than Mr.



                                      6
          Holmes. Lighthouse's paying Ms. Rogers less for doing

          the same work than it paid Mr. Holmes violated the

          Equal Pay Act of 1963, 29 U.S.C. § 206(d)(1).

                  IV. Relief Requested
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    19. Ms. Rogers requests that the Court enjoin Lighthouse from

       engaging in any further sex discrimination against her. 42

       U.S.C. § 2000e-5(g)(1). She also requests that the Court

       enjoin Lighthouse from engaging in any further pay

       discrimination in violation of the Equal Pay Act.

    20. Ms. Rogers requests that the Court order      back pay. 42

       U.S.C. § 2000e-5(g)(1). The backpay award should include

       lost wages, raises, overtime compensation, bonuses,

       vacation pay, and retirement benefits.

          United States v. Burke, 504 U.S. 229, 237-242

          (1992). Shore v. Fed. Express Corp., 42 F.3d 373,

          378 (6th Cir. 1994).

    21. Ms. Rogers requests an award of compensatory damages

       for future pecuniary losses, emotional pain, suffering,

       inconvenience, mental anguish, loss of enjoyment of life,

       and other non-pecuniary losses. 42 U.S.C. §§

       1981a(a)(1), 1981a(b)(3).

                                 7

    22. Ms. Roger's requests back pay for Lighthouse's Equal Pay

       Act violations for the time it underpaid her starting in

       October 2019 and continuing through February 18, 2020.

    23. Ms. Rogers requests an award of punitive damages

       because Lighthouse engaged in discriminatory practices
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       with malice or with a reckless indifference to her federally

       protected rights. 42 U.S.C. §§ 1981a(b)(1), 1981a(b)(4).

    24. Ms. Rogers requests an award of prejudgment interest and

       post-judgment interest at the maximum rate allowed by law.

       Loeffler v. Frank, 486 U.S. 549, 557-558 (1988).

       25. Ms. Rogers requests that she be awarded her costs of

       prosecuting this case, including attorneys' fees. 42 U.S.C.

       §§ 1988(b), 1988(c), 2000e-5(k). 26. Ms. Rogers requests

       that the Court award her any other equitable relief the

       Court deems appropriate. 42 U.S.C. § 2000e-5(g)(1).
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                                                                                            Jury Demand

                                                                                            27. Ms. Rogers demands a trial by jury. 42
                                                                                            U.S.C. § 1981a(c)(1).

                                                                                             Respe~                                                              A)
                                                                         Anitra N. Rogers
                                                                       Anitra N. Rogers
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                                                                                                                                                  rv.J,/
                                                                       Pro Se Plaintiff
                                                                      6624 Magnolia Way
                                                                     North Little Rock, Arkansas 72117-2372
                                                                     Telephone 870.317.4163
                                                                      Email anitra.nrogers@gmail.com




                                                                                                      8
                        EEOC Form 5 (11/09)

                                                                          CHARGE Of DISCRIMINATION                        Cha111ePn1sentedTo:Agencyf15)Cha111e

                                                                                                                             No(s):
197 4. See enclosed Privacy Act     •                                               !Kl
                                        FEPA SlaletnentandOlherinlormationbelo'9-thislurm.         EEOC 493-2020-00880   null   and EEOC
                                                                                      State or local Agency, if any
                        Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth 02/07/1982 MS. ANITRA N ROGERS (870) 317-4163
                        Way Street Address City, State and ZIP Code
                        6624 MAGNOLIA WAY, NORTH LITTLE ROCK, AR 72117


                        That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.) Name ....
                        No. JACKSONVILLE LIGHTHOUSE ACADEMIES Unknown (501) 985-1228 StreetAddressCity,
                        State and ZIP Code
                                                                                                                                        e-.. . . -
                         Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency




                        251 N. FIRST, JACKSONVILLE, AR 72076

                        Name,.._.,,,__ _ Phone No. Street Address City, State and ZIP Code




E Earliest Latest

                    D    RACE   D   COLOR     [Kl SEX X RELIGION D NATIONAL ORIGIN 10-01-2019 02-18-2020 o RETALIATION D                               AGE

                                                • OTHER (Specify) • DISABILITY • GENETIC INFORMATION O CONTINUING ACTION
                        THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                         I was hired in July 2017, and promoted to Principal in 2018. I was paid less than the Male, who
                         held the position of Principal, prior to my promotion. In October or November 2019, I was given
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             a written reprimand. In February 2020, I was place on a Performance Improvement Plan (PIP).
             On February 18, 2020, I was discharged. Prior to my discharge, the Respondent provided Male
             Principals the opportunity to continue their employment in other positions after being removed
             from the position of Principal. I was not given the opportunity to continue my employment. I was
             not paid for my paid-time-off. I was not paid the full amount of pay due to me at the time I was
             discharged.

              I believe I was paid less than males with the same job title and duties in violation of the Equal
             Pay Act of 1967, as amended. I also believe I was paid less than males with the same job title
             and duties, subjected to different terms and conditions of employment, disciplined, placed on a
             PIP, discharged, not allowed to
             continue my employment in another position, not paid for my paid-time-off, and not paid my
             full pay at the time I was discharged because of my sex, female, in violation of Title VII of the
             Civil Rights Act of 1964, as amended.
           I want this charge filed with both the EEOC and the State or local Agency, NOTARY-'Mlennecessary, forStateaoO LocalAgencyRequnments if any. I will
           advise the agencies if I change my address or phone number
           and I will cooperate fully with them in the processing of my charge in
             according to their procedures. I swear or affirm that I have read the above charge and that I declare under penalty of perjury that the
                   above is true and correct. is true to the best of my knowledge, information and belief. SIGNATURE OF COMPLAINANT


                  Digitally signed by Anitra Rogers on 05-19-2020 09:40 PM SUBSCRIBED AND SWORN TO
                                                     BEFORE ME THIS DATE EDT !month. day, rear)




                                                                                                                                            Exhibit A
QUAL EMPLOYMENT OPPORTUNITY COMMISSION DISMISSAL AND NOTICE OF

            RIGHTS




           To: Anitra N. Rogers
           6624 Magnolia Way
           North Little Rock, AR 72117




           D    0nbehaWofpersan(s)aggriavedwhoHidertilyi&CONFIDENTIAL (29 CFR §1601.l(a))

           EEOC Charge No. EEOC Representative Margie Myers,
           From: Little Rock Area Office
           820 Louisiana
           Suite 200
           Little Rock, AR 72201




           Telephone No.




            493-2020-00880 (501) 324-6214
                                                                 Investigator
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             THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING

      REASON:    D The facts alleged in the charge fail to state a claim under any of the statutes
       enforced by the EEOC. D Your allegations did not involve a disability as defined by the
                                    Americans With Disabilities Act.

        D The Respondent employs less than the required number of employees or is not otherwise covered by the
        statutes.  D   Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of
        the alleged discrimination to file your charge
[KJ   The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
        determination about whether further investigation would establish violations of the statute. This does not mean the
        claims have no merit. This determination does not certify that the respondent is in compliance with the statutes. The
        EEOC makes no finding as to the merits of any other issues that might be construed as having been raised by this
        charge.

        D The EEOC has adopted the findings of the state or local fair employment practices agency that
        investigated this charge. D Other (briefly state)


                                                        - NOTICE OF SUIT RIGHTS -
                                                  (See the additional information attached to this form.)
  Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
  Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will
  send you. You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or
  state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue
  based on this charge will be lost. (The time limit for filing suit based on a claim under state law may be different.)

  Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful
  violations) of the alleged EPA underpayment. This means that back pay due for any violations that occurred
  more than 2 years (3 years) before you file suit may not be collectible.

                                              On behalf of the Commission




  Enclosures(s)


  cc: Jerome Ballard
  coo
  Lighthouse Academies 251 N. 1st Street
  Jacksonville, AR 72076

  -      -     c: ---
  William A. Cash, Jr.,
  Area Office Director


  02/24/2021
  (Date Issued)
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                                                           Exhibit B
